 Case 3:21-cv-16546-ZNQ-DEA Document 1-1 Filed 09/03/21 Page 1 of 29 PageID: 3




               IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW JERSEY

                                    Civil Action No.: ____________________

IN RE: 3M COMBAT ARMS      (This Document Relates To An Action
EARPLUG PRODUCTS LIABILITY Pending In The U.S. District Court For The
LITIGATION                 Northern District Of Florida – Civil Action
                           No. 3:19-md-2885)

                                    MOTION DATE: October 4, 2021

                                    ORAL ARGUMENT REQUESTED



 MEMORANDUM IN SUPPORT OF MOTION TO QUASH SUBPOENA TO
 PRODUCE DOCUMENTS SERVED ON NON-PARTY SEASON 4, LLC OR,
     ALTERNATIVELY, MOTION FOR A PROTECTIVE ORDER



Dated: September 3, 2021             Respectfully submitted,

                                     FOX ROTHSCHILD LLP

                                     /s/ Jeffrey M. Pollock
                                     Jeffrey M. Pollock
                                     Dominique J. Carroll
                                     997 Lenox Drive
                                     Lawrenceville, New Jersey 08648
                                     Tel.: (609) 896-3600
                                     Fax: (609) 896-1469
                                     jmpollock@foxrothschild.com
                                     djcarroll@foxrothschild.com

                                     Counsel for Non-Party Season 4, LLC
 Case 3:21-cv-16546-ZNQ-DEA Document 1-1 Filed 09/03/21 Page 2 of 29 PageID: 4



                                        TABLE OF CONTENTS

I.     INTRODUCTION ........................................................................................... 1

II.    RELEVANT FACTUAL BACKGROUND ................................................... 3

       A.       The MDL and underlying litigations .................................................... 3

       B.       Season 4, LLC ....................................................................................... 5

       C.       Defendants’ Subpoena .......................................................................... 7

III.   LEGAL STANDARD ..................................................................................... 7

IV.    ARGUMENT ................................................................................................ 10

       A.       The Subpoena must be quashed because it seeks privileged and
                protected material. Additionally, the Subpoena may be quashed
                because it seeks confidential research and commercial information. . 10

       B.       Protected Claimants using the Site had an expectation of privacy,
                unlike the respondents to Defendants’ subpoena to Top Class
                Actions, LLC. ...................................................................................... 16

       C.       The Subpoena is overly broad and unduly burdensome. .................... 17

       D.       Consistent with the edict of Hickman v. Taylor, the Subpoena should
                be quashed because the information sought is likely available from
                parties to the litigation......................................................................... 18

       E.       Alternatively, the Court should limit the Subpoena or issue a
                protective order. .................................................................................. 20

V.     CONCLUSION ............................................................................................. 22




                                                            i
 Case 3:21-cv-16546-ZNQ-DEA Document 1-1 Filed 09/03/21 Page 3 of 29 PageID: 5



                                        TABLE OF AUTHORITIES

                                                                                                                 Page(s)

Cases

In re 3M Combat Arms Earplug Prods. Liab. Litig.,
    3:19-md-2885 (N.D. Fla.) ............................................................................... 5, 16

3M Company, et al. v. Top Class Actions, LLC,
  3:20-mc-74-MCR-GRJ (N.D. Fla.) ................................................................ 5, 16

In re Cooper Tire & Rubber Co.,
    568 F.3d 1180 (10th Cir. 2009) ............................................................................ 9

Crocs, Inc. v. Effervescent, Inc.,
  2016 WL 9584443 (D. Colo. Dec. 12, 2016) ..................................................... 19

Echostar Commc’ns Corp. v. News Corp. Ltd.,
  180 F.R.D. 391 (D. Colo. 1998) ......................................................................... 19

Fraternal Order of Police, Lodge No. 5 v. City of Phila.,
   812 F.2d 105 (3d Cir. 1987) ............................................................................... 15

Heidelberg Americas, Inc. v. Tokyo Kikai Seisakusho, Ltd.,
  333 F.3d 38 (1st Cir. 2003) .................................................................................. 9

Hickman v. Taylor,
   329 U.S. 495 (1947) ..................................................................................... 12, 18

Katz v. Batavia Marine & Sporting Supplies, Inc.,
  984 F.2d 422 (Fed. Cir. 1993) ............................................................................ 10

In re Kozlov,
    79 N.J. 232 (1979) .............................................................................................. 14

Laxalt v. McClatchy,
   116 F.R.D. 455 (D. Nev. 1986) ............................................................................ 8

Leonen v. Johns-Manville,
   135 F.R.D. 94 (D.N.J. 1990) ........................................................................ 12, 13

Millennium TGA, Inc. v. Comcast Cable Comm’cns LLC,
   286 F.R.D. 8 (D.D.C. 2012) ............................................................................... 20

                                                             ii
 Case 3:21-cv-16546-ZNQ-DEA Document 1-1 Filed 09/03/21 Page 4 of 29 PageID: 6



Moon v. SCP Pool Corp.,
  232 F.R.D. 633 (C.D. Cal. 2005) ....................................................................... 19

Murphy v. Deloitte & Touche Group Ins. Plan,
  619 F. 3d 1151 (10th Cir. 2010) ......................................................................... 19

Mycogen Plant Sci., Inc. v. Monsanto Co.,
  164 F.R.D. 623 (E.D. Pa. 1996) ........................................................................... 8

Nat. Union Fire. Ins. Co. of Pittsburgh, P.A. v. Becton, Dickinson & Co.,
  2018 WL 627378 (D.N.J. Jan. 30, 2018) .......................................................... 15

Robbins v. Camden City Bd. of Educ.,
  105 F.R.D. 49 (D.N.J. 1985) ................................................................................ 7

Scheetz v. The Morning Call, Inc.,
   946 F.2d 202 (3d Cir. 1991) ............................................................................... 16

Schmulovich v. 1161 Rt. 9 LLC,
   2007 WL 2362598 (D.N.J. Aug. 15, 2007) .................................................. 15, 17

Sporck v. Peil,
   759 F.2d 312 (3d Cir.), cert. denied, 474 U.S. 903 (1985) ................................ 13

Stamy v. Packer,
   138 F.R.D. 412 (D.N.J. 1990) .............................................................................. 8

United Coal Companies v. Powell Constr. Co.,
  839 F.2d 958 (3d Cir. 1988) ............................................................................... 13

WM High Yield v. O’Hanlon,
  460 F. Supp. 2d 891 (S.D. Ind. 2006) ................................................................ 19

Statutes

28 U.S.C. § 1332(a) ................................................................................................. 13

28 U.S.C. § 1407.................................................................................................... 3, 4

Other Authorities

Fed. R. Civ. P. 26 ................................................................................................. 9, 20

Fed. R. Civ. P. 26(b)(1) ................................................................................. 9, 15, 21

                                                             iii
 Case 3:21-cv-16546-ZNQ-DEA Document 1-1 Filed 09/03/21 Page 5 of 29 PageID: 7



Fed. R. Civ. P. 26(b)(2)(C) .................................................................................. 9, 21

Fed. R. Civ. P. 26(b)(2)(C)(i) .................................................................................. 21

Fed. R. Civ. P. 26(b)(2)(C)(i)-(iii) ........................................................................... 21

Fed. R. Civ. P. 26(b)(2)(C)(ii) ................................................................................. 21

Fed. R. Civ. P. 26(b)(3) ........................................................................................... 13

Fed. R. Civ. P. 26(c) and 45(d)(3) ............................................................................. 3

Fed. R. Civ. P. 45 ..................................................................................... 9, 15, 16, 18

Fed. R. Civ. P. 45(c) ................................................................................................ 10
Fed. R. Civ. P. 45(c)(3)(A)(iv) ................................................................................ 18

Fed. R. Civ. P. 45(d)(1) ............................................................................................. 9

Fed. R. Civ. P. 45(d)(3) ................................................................................... 1, 8, 10

Fed. R. Civ. P. 45(d)(3)(A) ............................................................................ 8, 10, 20

Fed. R. Civ. P. 45(d)(3) (A)(i), (iii), (iv) ................................................................. 17

Fed. R. Civ. P. 45(d)(3)(A)(iii) ................................................................................ 16

Fed. R. Civ. P. 45(d)(3)(A)(iii)-(iv)........................................................................... 9

Fed. R. Civ. P. 45(d)(3)(B) ...................................................................................... 10

Fed. R. Civ. P. 45(d)(3)(B)(i) .............................................................................. 9, 15

Fed. R. Civ. P. 45(f) ................................................................................................... 1

Fed. R. Evid. 401 ..................................................................................................... 15

Fed. R. Evid. 501 ..................................................................................................... 13




                                                              iv
Case 3:21-cv-16546-ZNQ-DEA Document 1-1 Filed 09/03/21 Page 6 of 29 PageID: 8




I.    INTRODUCTION

      Non-party Season 4, LLC, moves for an order, under Federal Rule of Civil

Procedure 45(d)(3), to quash the subpoena to produce documents issued by

defendants 3M Company, 3M Occupational Safety LLC, Aearo Holding LLC,

Aearo Intermediate LLC, Aearo LLC, and Aearo Technologies LLC in a

multidistrict litigation pending in the Northern District of Florida. See Defendants’

Subpoena to Season 4, attached as Exhibit 1 to the Declaration of Dominique J.

Carroll, Esq. 1 The Subpoena should be quashed to protect Season 4 and plaintiffs,

such as Edward Cerracchio and Luis Betancourth, who submitted information on

classaction.org in the anticipation of retaining counsel, with the expectation that the

medical and/or personal information submitted on the website would be kept

confidential.   See id. at Exhibit 6 and Exhibit 7 (Messrs. Cerracchio and

Betancourth’s Certifications).

      Season 4 operates the web-based service classaction.org to connect potential

clients (plaintiffs) with law firms knowledgeable about plaintiff’s potential claims

(here, defective 3M Combat earplug cases).          Acknowledging the reasonable




1
  This Court has jurisdiction over this motion under Fed. R. Civ. P. 45(f). The
subpoena commands the investigation, assembly, and production of documents from
Season 4’s corporate headquarters in Warren, New Jersey. Also, Season 4 does not
consent to transferring this motion to the issuing court in the Northern District of
Florida.


                                          1
Case 3:21-cv-16546-ZNQ-DEA Document 1-1 Filed 09/03/21 Page 7 of 29 PageID: 9




expectation of privacy held by Messrs. Cerracchio, Betancourth, and similarly

situated claimants (“Protected Claimants”) in their submissions, Season 4 informed

Protected Claimants that it “takes this responsibility and your privacy seriously. . .”

Season 4’s Privacy Notice, Carroll Decl., Exhibit 2. Using Season 4’s platform,

Protected Claimants in New Jersey and elsewhere disclosed information (with the

expectation those disclosures would be confidential) and retained their counsel. In

short, the Protected Claimants had an expectation of confidentiality concerning use

of Season 4’s platform to retain counsel.

      The Subpoena improperly (i) seeks disclosure of privileged or otherwise

protected matters, including confidential commercial information; (ii) seeks attorney

communications; and (iii) subjects Season 4 to undue burden and expense. Indeed,

the Subpoena seeks all documents Season 4 possesses regarding any plaintiff in the

MDL. The Subpoena also seeks all documents Season 4 possesses relating to

analysis performed by Season 4 or any lawyer or law firm concerning a plaintiff in

the MDL. 2

      New Jersey plaintiffs—and others—expected their communications with

Season 4 and with counsel to be protected. Further, Defendants do not need to




2
  Defendants’ demands include all documents sent to Season 4 by any lawyer
regarding MDL plaintiffs or their claims.


                                            2
Case 3:21-cv-16546-ZNQ-DEA Document 1-1 Filed 09/03/21 Page 8 of 29 PageID: 10




impinge upon the Protected Claimants’ expectation of privacy as defendants have

available to them the legitimate and traditional tools of discovery—borrowing the

wits of their adversary is not one of those tools. Defendants could obtain the

information in a more convenient and less intrusive manner from the plaintiffs in the

MDL, rather than creating an undue burden on Season 4 or chilling the speech of

Protected Claimants. Thus, Season 4 moves to quash the Subpoena. Alternatively,

Season 4 requests that the Court enter a protective order specifying conditions for

production if Defendants show a substantial need for the documents that cannot be

met without undue hardship to Season 4 and ensuring that Season 4 will be

reasonably compensated for its efforts under Fed. R. Civ. P. 26(c) and 45(d)(3).

II.   RELEVANT FACTUAL BACKGROUND

      A.     The MDL and underlying litigations

      As of April 3, 2019, this litigation consisted of eight actions pending in the

following districts: (i) Central District of California (one action); (ii) District of

Minnesota (four actions); (iii) Western District of Oklahoma (two actions); and (iv)

Western District of Texas (one action). See ECF No. 1, p. 1 3; see also id. at Schedule

A. A plaintiff in one District of Minnesota action moved, under 28 U.S.C. § 1407,

to centralize this litigation in the District of Minnesota or, alternatively, the Western



3
 Docket entry references are from the MDL Docket (No. 3:19-md-2885, N.D. Fla.)
unless otherwise noted.


                                           3
Case 3:21-cv-16546-ZNQ-DEA Document 1-1 Filed 09/03/21 Page 9 of 29 PageID: 11




District of Missouri. Id. “Common defendant 3M Company and plaintiffs in more

than 45 actions and potential tag-along provisions support[ed] centralization in the

District of Minnesota”. 4 Id.

      The United States Judicial Panel on Multidistrict Litigation was “notified of

635 related federal actions filed in 33 districts.” Id. With the benefit of the papers

filed and a hearing, the Panel found “[a]ll actions involve common factual questions

arising out of allegations that defendants’ Combat Arms earplugs were defective,

causing plaintiffs to develop hearing loss and/or tinnitus.” ECF No. 1, p. 2. 5 The

Panel also found that “[i]ssues concerning the design, testing, sale, and marketing of

the Combat Arms earplugs are common to all actions” and the Northern District of

Florida was selected as the transferee district for this litigation. Id. The MDL was

assigned to the Honorable M. Casey Rogers, U.S.D.J. for coordinated or

consolidated pretrial proceedings. Id.

      In the Northern District of Florida, Defendants filed a discovery subpoena on




4
 While all responding parties supported centralization, they did not all agree on the
appropriate transferee district. Indeed, respondents suggested a total of eighteen
different districts. See ECF No. 1, p. 1.
5
   As explained by the Honorable Gary R. Jones, U.S.M.J., “[t]his multidistrict
litigation is a products liability action concerned with whether Defendants were
negligent in their design, testing, and labeling of the nonlinear dual-ended Combat
Arms Earplug Version 2 (the ‘CAEvW’)”. ECF No. 879 (citing Master Long Form
Complaint, ECF No. 704).


                                          4
Case 3:21-cv-16546-ZNQ-DEA Document 1-1 Filed 09/03/21 Page 10 of 29 PageID: 12




 non-party Top Class Actions, LLC (“TCA”) and, thereafter, filed a motion to compel

 compliance with that subpoena. See 3M Company, et al. v. Top Class Actions, LLC,

 3:20-mc-74-MCR-GRJ (N.D. Fla.), ECF No. 1. Judge Rogers granted Defendants’

 motion to compel discovery from TCA. See In re 3M Combat Arms Earplug Prods.

 Liab. Litig., 3:19-md-2885, ECF No. 52.

       Unlike TCA, here, the Protected Claimants had an expectation of privacy, as

 set forth in the Betancourth Cert. and the Cerracchio Cert. Protected Claimants like

 Messrs. Betancourth and Cerracchio retained counsel for their claims arising from

 use of Defendants’ defective Combat Arms earplugs. Prior to retaining counsel the

 Protected Claimants “completed a form regarding a potential 3M military ear plug

 claim on classaction.org [operated by Season 4] with the expectation and belief that

 [their] medical and/or personal information would be kept confidential and that it

 would not be made public without [their] express permission.” See Betancourth

 Cert. and Cerracchio Cert., at ¶ 2. Further, Season 4 has a privacy interest in its

 confidential information and trade secrets including its business models and

 corporate structure, which Defendants seek to obtain through the Subpoena.

       B.    Season 4, LLC

       Season 4 is a Warren, New Jersey based company, and New Jersey registered

 entity, that operates the website classaction.org.    Through the Site, Season 4

 “provides users with the ability to register a personal complaint or injustice and



                                           5
Case 3:21-cv-16546-ZNQ-DEA Document 1-1 Filed 09/03/21 Page 11 of 29 PageID: 13




 forward it to the lawyers, law firms, legal financial service providers, or other legal

 service providers sponsoring submission forms (the ‘Service’).” See Season 4’s

 Terms of Use Effective Aug. 16, 2019, Carroll Decl. Exhibit 3, p. 2. Users of the

 Site “expressly accept and agree to be bound by the terms and conditions of [Season

 4’s Terms of Use], the Privacy Notice and the Disclaimer.” Id. at p. 1; see also

 Season 4’s Privacy Notice and Disclaimer, Carroll Decl. at Exhibit 2 and Exhibit 4,

 respectively. 6

        Additionally, users of the Site agree that the Terms of Use “shall be governed

 by and construed in accordance with the laws of the state of New Jersey, without

 regard to conflicts of laws provisions” and “that the United States District Court for

 the District of New Jersey and/or the Superior Court for the County of Somerset

 shall have exclusive jurisdiction over any dispute between [a user] and S4 relating

 in any way to the S4 service or website or [its Terms of Use].” Carroll Decl., Exhibit

 3, p. 18-19. Users also “expressly and irrevocably consent to personal jurisdiction

 and venue in” the United States District Court for the District of New Jersey and/or

 the Superior Court for the County of Somerset. Id.

        Because Season 4 understands the confidential and sensitive nature of the



 6
  As of the date of the Subpoena, Season 4’s Aug. 16, 2019 version of its Terms of
 Use and Disclaimer and its December 23, 2019 version of its Privacy Policy were
 effective.


                                           6
Case 3:21-cv-16546-ZNQ-DEA Document 1-1 Filed 09/03/21 Page 12 of 29 PageID: 14




 information provided by Protected Claimants using the Site, Season 4 acknowledges

 users of the Site for “trusting [Season 4] with your personal information” and advises

 them that Season 4 “take[s] this responsibility [to safeguard user information and

 users’] privacy, very seriously.” Carroll Decl., Exhibit 2, p. 1. Accordingly, Season

 4 “built [its] website using industry-standard security measure[s] and authentication

 tools to protect the security of [users’ personal data].” Id. at 21. Moreover, Season

 4 “and the third parties who provide services for [Season 4], also maintain technical

 and physical safeguards to protect [users’ personal data].” Id. at 22.

        C.    Defendants’ Subpoena

        During the first quarter of 2020, Defendants issued the Subpoena. By letter

 dated March 31, 2020, Season 4 produced documents responsive to Defendants’

 documents demands numbers 3, 4, and 5. See Season 4’s Letter to Defendants’

 Counsel, Carroll Decl. at Exhibit 5. Season 4 objected to the remainder of the

 Subpoena. Id. More than a year elapsed, and Season 4 has heard nothing regarding

 the Subpoena.

 III.   LEGAL STANDARD

        Despite the liberal nature of discovery in civil actions, the scope of such

 discovery is not unlimited. Robbins v. Camden City Bd. of Educ., 105 F.R.D. 49, 55

 (D.N.J. 1985). Discovery “should be tailored to the issues involved in the particular

 case.” Id. (citation omitted). Even before considering the issue of privilege or other



                                           7
Case 3:21-cv-16546-ZNQ-DEA Document 1-1 Filed 09/03/21 Page 13 of 29 PageID: 15




 protections, the party seeking discovery from a non-party has the burden of

 demonstrating that the information being sought is relevant to its claims. Mycogen

 Plant Sci., Inc. v. Monsanto Co., 164 F.R.D. 623, 625-6 (E.D. Pa. 1996).

       Season 4 is a non-party and is, therefore, afforded greater protection from

 discovery than a normal party. See Stamy v. Packer, 138 F.R.D. 412, 419 (D.N.J.

 1990) (“the standards for nonparty discovery require a stronger showing of relevance

 than for simple party discovery”); see also Laxalt v. McClatchy, 116 F.R.D. 455,

 457-8 (D. Nev. 1986) (“The rule is thus well established that nonparties to litigation

 enjoy greater protection from discovery than normal parties.”). It is Defendants’

 burden to demonstrate that the discovery sought is relevant to its claims or defenses.

 If found to be relevant, the discovery is then examined regarding the information

 sought and the burdens imposed.

       Although, in some instances, the examination allows for the use of discretion

 by a reviewing court, in other instances a reviewing court is required to impose limits

 on discovery. Fed. R. Civ. P. 45(d)(3). The subpoenaed non-party generally has the

 burden of showing that disclosure of the information is protected under Fed. R. Civ.

 P. 45(d)(3)(A) or (B), after which the proponent must show a substantial need that

 cannot be met without undue hardship. Mycogen Plant Sci., 164 F.R.D. at 626.

       A Court is required to quash a subpoena that requires the disclosure of

 privileged or other protected matter (if no exception or waiver applies) or subjects a



                                           8
Case 3:21-cv-16546-ZNQ-DEA Document 1-1 Filed 09/03/21 Page 14 of 29 PageID: 16




 person to undue burden. Fed. R. Civ. P. 45(d)(3)(A)(iii)-(iv). Alternatively, a Court

 may quash or modify a subpoena that requires the disclosure of a trade secret or

 other confidential research, development, or commercial information. Fed. R. Civ.

 P. 45(d)(3)(B)(i). Fed. R. Civ. P. 45 also contains the more basic requirement that a

 subpoenaing party must take reasonable steps to avoid imposing undue burden or

 expense. Fed. R. Civ. P. 45(d)(1).

       The foregoing approach to quashing a subpoena is generally consistent with

 Fed. R. Civ. P. 26, by which a Court must limit the extent of discovery if:

       (i) the discovery sought is unreasonably cumulative or duplicative, or
       can be obtained from some other source that is more convenient, less
       burdensome, or less expensive;
       (ii) the party seeking discovery has had ample opportunity to obtain the
       information by discovery in the action; or
       (iii) the proposed discovery is outside the scope permitted by Rule
       26(b)(1).

 Fed. R. Civ. P. 26(b)(2)(C).

       Discovery is limited to “claims or defenses.” Fed. R. Civ. P. 26(b)(1); see

 also In re Cooper Tire & Rubber Co., 568 F.3d 1180, 1189 (10th Cir. 2009) (noting

 that all discovery is subject to the limitations imposed by Rule 26(b)(1)). Finally,

 federal courts not only reign in non-party discovery, but also view the discovery of

 protected materials with an even more critical eye. Heidelberg Americas, Inc. v.

 Tokyo Kikai Seisakusho, Ltd., 333 F.3d 38, 41-2 (1st Cir. 2003) (subpoena quashed

 because of imbalance between need for information and significant burden on non-



                                          9
Case 3:21-cv-16546-ZNQ-DEA Document 1-1 Filed 09/03/21 Page 15 of 29 PageID: 17




 party). As a result, courts consider non-party status in weighing burdens and the

 burden is on the proponent to establish a need for the information sought, especially

 with respect to confidential non-party information. Katz v. Batavia Marine &

 Sporting Supplies, Inc., 984 F.2d 422, 424-5 (Fed. Cir. 1993).

 IV.   ARGUMENT

       As a non-party in receipt of a subpoena, Season 4 may move to quash the

 Subpoena. See Fed. R. Civ. P. 45(d)(3). A District Court “must quash or modify a

 subpoena that: (i) fails to allow a reasonable time to comply . . . (ii) requires a person

 to comply beyond the geographical limits specified in Rule 45(c) . . . (iii) requires

 disclosure of privileged or other protected matter . . . or (iv) subjects a person to

 undue burden.” Fed. R. Civ. P. 45(d)(3)(A) (emphasis added). Further, the Court

 may quash or modify a subpoena if it requires disclosure of trade secrets or other

 confidential information. Fed. R. Civ. P. 45(d)(3)(B).

       A.       The Subpoena must be quashed because it seeks privileged and
                protected material. Additionally, the Subpoena may be quashed
                because it seeks confidential research and commercial information.

       In addition to seeking irrelevant and immaterial documents and information,

 the Subpoena invades the right of confidentiality and privacy by seeking documents

 and information protected from disclosure such as confidential and commercial

 information.




                                            10
Case 3:21-cv-16546-ZNQ-DEA Document 1-1 Filed 09/03/21 Page 16 of 29 PageID: 18




           1. The Subpoena should be quashed because it threatens disclosure of
              privileged and protected attorney communications and invades the
              reasonable expectation of privacy held by users of Season 4’s Site.

       As explained in the Betancourth Cert. and Cerracchio Cert., Protected

 Claimants completed a form on the Site regarding their potential Combat Arms

 earplug claims, “with the expectation and belief that [their] medical and/or personal

 information would be kept confidential and that it would not be made public without

 [the users’] express permission.” See Betancourth Cert. and Cerracchio Cert., at ¶

 2. Indeed, users “completed a form regarding a potential 3M military ear plug claim

 on classaction.org in the anticipation of retaining counsel and expected that counsel

 would honor confidentiality.” Id. at ¶ 3. While potential claimants “understood that

 by filling out the form [they] had not engaged in a direct legal relationship, [their]

 expectation was that this information was confidential nonetheless and would be

 used solely and only for the purposes of assisting [potential claimants] in obtaining

 and conferring with legal counsel.” Id. at ¶ 4. The Subpoena should be quashed as

 it invades the expectation of privacy maintained by users of the Site. Conversely,

 enforcing the Subpoena would have a chilling effect on the speech of potential

 claimants as a tool that they thought was private would be used instead as a tool by

 Defendants to attack the plaintiffs.

       The Subpoena should also be quashed as it is “an attempt to secure the

 production of written statements and mental impressions contained in the files and



                                          11
Case 3:21-cv-16546-ZNQ-DEA Document 1-1 Filed 09/03/21 Page 17 of 29 PageID: 19




 the mind[s] of the [potential claimants’] attorney[s] … without any showing of

 necessity or any indication or claim that denial of such production would unduly

 prejudice the preparation of [Defendants’] case or cause [them] any hardship or

 injustice.” Hickman v. Taylor, 329 U.S. 495, 509 (1947). Here, privileged and

 protected material – such as attorney communications – will be captured by the

 broadly defined nature of documents sought. 7 For example, the Subpoena demands

 production of the following:

       RFP No. 2: All documents relating to any analysis done by you or sent
       to you by any Person, including any Plaintiffs’ Law Firm or any other
       lawyer, regarding any Claimant(s) or any of their Claims.

       RFP No. 6: All communications between you and any Plaintiffs’ Law
       Firm or other lawyers related to the Claimants and any of their Claims.

 In fact, the Subpoena would also capture analyses by Season 4 relating to its business

 and evaluation of plaintiffs’ claims provided by a lawyer or law firm in connection

 with MDL plaintiffs.

       Notably, the work product doctrine “is distinct from, and broader than, the

 attorney-client privilege.” Leonen v. Johns-Manville, 135 F.R.D. 94, 96 (D.N.J.

 1990) (citing Hickman, 329 U.S. at 508). Specifically, “[t]he work-product doctrine,




 7
   Additionally, the Subpoena defines Season 4 to capture affiliates – which are
 separate entities – that are protected because they themselves have not been served
 with a subpoena.


                                          12
Case 3:21-cv-16546-ZNQ-DEA Document 1-1 Filed 09/03/21 Page 18 of 29 PageID: 20




 codified in Fed. R. Civ. P. 26(b)(3), governs all cases in federal court” and “provides

 for a qualified privilege that protects documents prepared in anticipation of litigation

 by a party or for the party’s attorney or other representative.” Id. (citation omitted).

 Moreover, “[o]pinion work-product, such as an attorney’s legal strategy or

 evaluation of a case’s strengths and weaknesses, is almost absolutely privileged.”

 Id. (citing Sporck v. Peil, 759 F.2d 312 (3d Cir.), cert. denied, 474 U.S. 903 (1985)).

 “Disclosure of such material is far outweighed by the interest in protecting an

 attorney’s thought processes.” Id.

       Further, as jurisdiction is based upon diversity in this litigation, questions

 regarding privileges are assessed under state law. See Leonen, 135 F.R.D. 98 (“Rule

 501 of the Federal Rules of Evidence directs this Court to look to state law in

 deciding questions of privilege when jurisdiction is based on diversity.”) (citing

 United Coal Companies v. Powell Constr. Co., 839 F.2d 958, 965 (3d Cir. 1988));

 see also ECF No. 704, ¶ 22 (Master Long Form Complaint, stating “This Court has

 subject matter jurisdiction pursuant to 28 U.S.C. § 1332(a).”). Accordingly, “the

 attorney client privilege is governed by New Jersey law.” Leonen, 135 F.R.D. at 98.

       Under New Jersey law, a court may pierce the attorney-client privilege only

 if (1) there is a legitimate need to reach the evidence sought to be shielded from

 disclosure, (2) there is a showing of relevance and materiality of that evidence to the

 issue before the court, and (3) the party opposing assertion of the privilege has shown



                                           13
Case 3:21-cv-16546-ZNQ-DEA Document 1-1 Filed 09/03/21 Page 19 of 29 PageID: 21




 by a fair preponderance of the evidence, including all reasonable inferences, that the

 information cannot be secured from any less intrusive means. In re Kozlov, 79 N.J.

 232, 243–44 (1979). In this case, Defendants cannot satisfy any of the Kozlov

 factors. First, Defendants lack a legitimate need for the privileged information they

 seek. Second, the requested information is irrelevant and immaterial to the products

 liability allegations at issue in this litigation. Lastly, Defendants could seek the

 information through less intrusive means such as party depositions and discovery

 demands (assuming they clear relevancy and privilege hurdles). As Defendants

 cannot overcome the substantial protections afforded to the users under New Jersey

 law, the Court should quash the Subpoena.

          2. The Subpoena should be quashed because it threatens disclosure of
             confidential business information and trade secrets such as Season
             4’s business models and the terms and conditions of Season 4’s
             business arrangements.

       Defendants’ requests for production (“RFP”) include the following:

       RFP No. 3: All documents relating to the referral of any Claimant(s) to
       a lawyer, including the date of and amount charged for the referral(s).

       RFP No. 5: All documents relating to your agreements with any
       Plaintiffs’ Law Firm or other lawyers regarding the CAEMDL or
       Related Actions.

       RFP No. 7: All documents regarding any financial interest that any
       other Person, including any Plaintiffs’ Law Firm, has in you.

       RFP No. 8: All documents relating to your ownership by any other
       Person, including any Plaintiffs’ Law Firm.



                                          14
Case 3:21-cv-16546-ZNQ-DEA Document 1-1 Filed 09/03/21 Page 20 of 29 PageID: 22




       Notably, the above information is irrelevant to the core issue in this litigation

 as recognized by Judge Jones. As Judge Jones succinctly framed it, “[t]his

 multidistrict litigation is a products liability action concerned with whether

 Defendants were negligent in their design, testing, and labeling of the nonlinear

 dual-ended Combat Arms Earplug Version 2 (the ‘CAEvW’)”. ECF No. 879 (citing

 Master Long Form Complaint, ECF No. 704) (emphasis added).                Season 4’s

 ownership structure has no tendency to make a fact of consequence in this action

 more or less probable than it would be without the evidence. See Fed. R. Evid. 401;

 see also Schmulovich v. 1161 Rt. 9 LLC, 2007 WL 2362598, at *2 (D.N.J. Aug. 15,

 2007) (“A Rule 45 subpoena served in conjunction with discovery must fall within

 the scope of proper discovery under Fed.R.Civ.P. 26(b)(1)”).

       Defendants’ requests threaten potential claimants’ privacy interests and seek

 disclosure of potential claimants’ private information and Season 4’s confidential

 information and trade secrets. This Court “may quash or modify a subpoena where

 it requires ‘disclosing a trade secret or other confidential research, development, or

 commercial information.’” Nat. Union Fire. Ins. Co. of Pittsburgh, P.A. v. Becton,

 Dickinson & Co., 2018 WL 627378, at *5 (D.N.J. Jan. 30, 2018) (quoting Fed. R.

 Civ. P. 45(d)(3)(B)(i); emphasis in original). Understandably, the Third Circuit has

 “previously suggested that there are privacy interests in certain financial

 information”. See e.g., Fraternal Order of Police, Lodge No. 5 v. City of Phila., 812



                                          15
Case 3:21-cv-16546-ZNQ-DEA Document 1-1 Filed 09/03/21 Page 21 of 29 PageID: 23




 F.2d 105, 115 (3d Cir. 1987); Scheetz v. The Morning Call, Inc., 946 F.2d 202, 207

 (3d Cir. 1991) (noting that regarding “financial records... there is a reasonable

 expectation that privacy will be preserved”). Defendants’ demands seek irrelevant

 information and threaten the disclosure of commercial sensitive information

 regarding Season 4’s financial interests and corporate structure. These types of

 information are protected under Fed. R. Civ. P. 45 and this Court should quash the

 Subpoena. See Fed. R. Civ. P. 45(d)(3)(A)(iii).

       B.    Protected Claimants using the Site had an expectation of privacy,
             unlike the respondents to Defendants’ subpoena to Top Class
             Actions, LLC.

       Under Fed. R. Civ. P. 45, Defendants filed a motion to compel compliance

 with a discovery subpoena served on non-party TCA. See 3M Company, et al. v.

 Top Class Actions, LLC, 3:20-mc-74-MCR-GRJ (N.D. Fla.), ECF No. 1; see also

 Order Granting Defendants’ Motion, In re 3M Combat Arms Earplug Prods. Liab.

 Litig., 3:19-md-2885, ECF No. 52. That motion was fully briefed by the parties and,

 by Order filed March 12, 2021, Judge Rodgers granted Defendants’ motion to

 compel discovery from TCA and overruled TCA’s objections based upon attorney-

 client privilege and work product protection.

       Here, Protected Claimants using the Site had an expectation of privacy as set

 forth in the certifications from Messrs. Betancourth and Cerracchio. Moreover,

 Season 4 has a privacy interest in its confidential information and trade secrets



                                         16
Case 3:21-cv-16546-ZNQ-DEA Document 1-1 Filed 09/03/21 Page 22 of 29 PageID: 24




 including its business models and corporate structure as discussed supra. Further,

 New Jersey has strong state law protections for the types of attorney-client

 communications sought by Defendants in their expansive requests.

       C.      The Subpoena is overly broad and unduly burdensome.

       Compliance with Defendants’ Subpoena would subject Season 4 to an undue

 burden. See Fed. R. Civ. P. 45(d)(3) (A)(i), (iii), (iv). An undue burden exists when,

 as here, the subpoena is “unreasonable or oppressive.” Schmulovich, 2007 WL

 2362598, at *4.     Although there is no “strict definition of unreasonable or

 oppressive,” courts have used several factors to assess a subpoena’s reasonableness:

 (1) the party’s need for the production; (2) the nature and importance of the

 litigation; (3) the relevance of the material; (4) the breadth of the request for

 production; (5) the time period covered by the request; (6) the particularity with

 which the documents are described; and (7) the burden imposed on the subpoenaed

 party. Id. (citing 9 James WM. Moore, et al., Moore’s Federal Practice ¶ 45.32 (3d

 ed. 2006)).

       At best, Defendants’ demands seek information that is tangential to the issues

 in the underlying products liability lawsuit regarding the Combat earplugs.

 Balancing the relevant factors weighs in favor of Season 4. Moreover, Defendants

 seek information that is confidential business information, the disclosure of which

 would be harmful to Season 4, and privileged communications and work product



                                          17
Case 3:21-cv-16546-ZNQ-DEA Document 1-1 Filed 09/03/21 Page 23 of 29 PageID: 25




 regarding, among other things, the evaluations and mental impressions of lawyers or

 law firm concerning the MDL plaintiffs.          The undue burden to Season 4 is

 exacerbated by the broad scope of Defendants’ demands. See, e.g., RFP No. 1

 (requesting all documents relating to any claimant, including any information

 collected from any claimant, analysis of the scope or amount of any claims).

 Accordingly, Defendants’ subpoena to Season 4 should be quashed.

       D.     Consistent with the edict of Hickman v. Taylor, the Subpoena
              should be quashed because the information sought is likely
              available from parties to the litigation.

       Through the Site, Season 4 provides Protected Claimants with a useful tool

 for securing counsel and working toward their day in court to vindicate their claims.

 The Site was not designed for, and users did not expect, that Defendants would be

 able to invade the mental impressions and opinions of counsel for use against

 potential claimants. In short, Protected Claimants neither agreed to, nor expected,

 that the Site could become a tool to aid Defendants.

       Even if the information sought in the Subpoena is relevant and necessary to

 this litigation (which Season 4 disputes), Defendants can secure that information

 directly from the parties without impinging upon plaintiffs’ or Season 4’s rights.

 The Subpoena imposes an undue burden on Season 4 and must be quashed or

 modified. Under Fed. R. Civ. P. 45, a Court must “quash or modify [a] subpoena if

 it . . . subjects a person to undue burden.” Fed. R. Civ. P. 45(c)(3)(A)(iv). Especially



                                           18
Case 3:21-cv-16546-ZNQ-DEA Document 1-1 Filed 09/03/21 Page 24 of 29 PageID: 26




 with respect to non-party subpoena recipients, discovery has “never been a license

 to engage in an unwieldy, burdensome and speculative fishing expedition.” Murphy

 v. Deloitte & Touche Group Ins. Plan, 619 F. 3d 1151, 1163 (10th Cir. 2010).

       To that end, courts routinely quash non-party subpoenas that seek information

 that should be obtained from parties to the litigation to avoid imposing an undue

 burden on the non-party. See, e.g., Moon v. SCP Pool Corp., 232 F.R.D. 633, 638

 (C.D. Cal. 2005) (quashing non-party subpoena because “the[] requests all pertain

 to defendant, who is a party, and thus, plaintiff can more easily and inexpensively

 obtain the documents from defendant, rather than from [the] nonparty”); WM High

 Yield v. O’Hanlon, 460 F. Supp. 2d 891, 896 (S.D. Ind. 2006) (granting motion to

 quash because the requesting party does not contend or attempt to show that it has

 been unable to obtain this information from those parties to the underlying

 litigation”); Echostar Commc’ns Corp. v. News Corp. Ltd., 180 F.R.D. 391, 394 (D.

 Colo. 1998) (denying motion to compel and noting that “[m]aterials which relate to

 these [subpoenaed] transactions are readily available from [the defendant] as they

 are from non-parties”); see also Crocs, Inc. v. Effervescent, Inc., 2016 WL 9584443,

 at *2 (D. Colo. Dec. 12, 2016) (recognizing that party serving subpoena “being

 required to obtain the information it seeks from nonparties first from [parties to the

 case], . . . is an argument that a subpoenaed non-party [] must make to avoid being

 whipsawed when information can be found in more than one place.”).



                                          19
Case 3:21-cv-16546-ZNQ-DEA Document 1-1 Filed 09/03/21 Page 25 of 29 PageID: 27




       It is evident that Defendants’ subpoena seeks documents and information that

 pertain almost exclusively to the MDL plaintiffs or lawyers and/or law firms that

 evaluated plaintiffs’ claims. Indeed, the requests mention Season 4 only indirectly

 and almost as an afterthought. The MDL plaintiffs and their counsel are the more

 relevant and direct sources for the information Defendants request. Further, given

 the MDL plaintiffs’ status and involvement in the case (unlike Season 4), Defendants

 could obtain the information in a more convenient manner and without the need to

 burden a non-party like Season 4.

       More fundamentally, Defendants failed to consider Season 4’s remote

 relationship with the MDL plaintiffs or their counsel. Given that Defendants’

 requests almost exclusively pertain to the MDL plaintiffs and their counsel, the MDL

 plaintiffs’ status as parties to the litigation, and Season 4’s inability to access much

 of the information sought, Defendants could obtain the information in a more

 convenient and less expensive manner from the MDL plaintiffs in a manner that does

 not create an undue burden to non-party Season 4.

       E.     Alternatively, the Court should limit the Subpoena or issue a
              protective order.

       Although the Court should quash the Subpoena outright—at a minimum—the

 Court should limit any information sought under Fed. R. Civ. P. 45(d)(3)(A) and

 enter a protective order under Rule 26 to protect Season 4 “from annoyance,

 embarrassment, oppression, or undue burden or expense.” See, e.g., Millennium


                                           20
Case 3:21-cv-16546-ZNQ-DEA Document 1-1 Filed 09/03/21 Page 26 of 29 PageID: 28




 TGA, Inc. v. Comcast Cable Comm’cns LLC, 286 F.R.D. 8, 13-14 (D.D.C. 2012)

 (exercising discretion to modify an overly broad subpoena).

       All three considerations under Rule 26(b)(2)(C) to limit the extent of

 discovery apply here:

       [T]he court must limit the frequency or extent of discovery otherwise
       allowed by these rules or by local rule if it determines that:
       (i) the discovery sought is unreasonably cumulative or duplicative, or
       can be obtained from some other source that is more convenient, less
       burdensome, or less expensive;
       (ii) the party seeking discovery has had ample opportunity to obtain the
       information by discovery in the action; or
       (iii) the proposed discovery is outside the scope permitted by Rule
       26(b)(1).

 Fed. R. Civ. P. 26(b)(2)(C)(i)-(iii).

       Any discovery within the scope of the Florida matter would be unreasonably

 cumulative of discovery in that case that should be (or already has been) obtained

 directly from the MDL plaintiffs. See Fed. R. Civ. P. 26(b)(2)(C)(i). There is no

 justification for burdening Season 4 for duplicative discovery. Defendants had

 ample opportunity to obtain the same information directly from the plaintiffs and to

 the extent Defendants claim their failures require the present Subpoena (which

 Defendants have not explained), Season 4 should be protected. See Fed. R. Civ. P.

 26(b)(2)(C)(ii). Further, without a protective order, there is no limit or protections

 from Defendants seeking discovery outside the scope permitted by Rule 26(b)(1) in

 the Florida case and are thus overreaching, as explained above.



                                          21
Case 3:21-cv-16546-ZNQ-DEA Document 1-1 Filed 09/03/21 Page 27 of 29 PageID: 29




        Therefore, if the Court does not quash the Subpoena in its entirety, Season 4

 requests an order limiting any information and discovery under the Subpoena by

 “forbidding the disclosure or discovery” and the “inquiry into certain matters, or

 limiting the scope of disclosure or discovery to certain matters.” Fed. R. Civ. P.

 26(c)(1)(A), (D).

 V.     CONCLUSION

        Season 4 received a subpoena improperly seeking (i) protected information

 from potential claimants and (ii) protected information regarding Season 4’s

 business and commercial information. The subpoena seeks irrelevant information

 and information regarding claimants that Defendants could obtain through less

 intrusive means. The Court should quash the subpoena served on Season 4 in its

 entirety.

 Dated: September 3, 2021                 Respectfully submitted,

                                          /s/ Jeffrey M. Pollock
                                          Jeffrey M. Pollock
                                          Dominique J. Carroll
                                          FOX ROTHSCHILD LLP
                                          997 Lenox Drive
                                          Lawrenceville, NJ 08648
                                          Tel.: (609) 896-3600
                                          Fax: (609) 896-1469
                                          jmpollock@foxrothschild.com
                                          djcarroll@foxrothschild.com

                                          Counsel for Non-Party Season 4, LLC




                                          22
Case 3:21-cv-16546-ZNQ-DEA Document 1-1 Filed 09/03/21 Page 28 of 29 PageID: 30




                           CERTIFICATE OF SERVICE

       I hereby certify that, on September 3, 2021, a true and correct copy of the

 foregoing was posted electronically to the ECF website of the United States District

 Court for the District of New Jersey. Additionally, a copy of the foregoing was

 served via electronic mail upon the following counsel for the Defendants:

  Nicholas Wasdin, Esq.
  Kirkland & Ellis LLP
  300 North LaSalle
  Chicago, IL 60654
  nick.wasdin@kirkland.com

  Tabitha De Paulo
  Kirkland & Ellis LLP
  609 Main Street
  Houston, TX 77002
  tabitha.depaulo@kirkland.com

  Counsel for Defendants


                                                    /s/ Dominique J. Carroll
                                                    Dominique J. Carroll




                                         23
Case 3:21-cv-16546-ZNQ-DEA Document 1-1 Filed 09/03/21 Page 29 of 29 PageID: 31




                        LOCAL RULE CERTIFICATION

       Pursuant to Local Rule 37.1, I hereby certify that counsel for Season 4, LLC

 has conferred with counsel for defendants concerning the relief requested in this

 motion (via telephone conference on September 2, 2021) in a good faith effort to

 resolve by agreement the issues raised by this motion without the intervention of the

 Court and that the parties have been unable to reach agreement.


                                                     /s/ Dominique J. Carroll
                                                     Dominique J. Carroll




                                          24
